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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY


JERSEY MIKE’S FRANCHISE SYSTEMS,                         Civil Action No. 3:23-cv-03444-GC-TJB
INC.,

                  Plaintiff,

v.

AMERICAN ARBITRATION ASSOCIATION,
INC., OPHELIA AUGUSTINE, CECELIA
LAHR, and ALEXANDER LUCE,

                  Defendants.


                                         CONSENT ORDER

              Plaintiff Jersey Mike’s Franchise Systems, Inc. and Defendant American Arbitration

Association, Inc. (“AAA”), by and through their respective undersigned counsel, hereby agree and

stipulate that AAA shall have an extension of time up to and including May 31, 2024, to file its

response to the First Amended Complaint [D.E. 22], served on AAA on August 28, 2023. This is

the fourth extension of time agreed to by the parties.

                                  26th day of February, 2024.
              SO ORDERED on this _____




                                                          s/Tonianne J. Bongiovanni
                                                         ________________________________
                                                         HON. TONIANNE J. BONGIOVANNI
                                                         U.S. MAGISTRATE JUDGE




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AGREED AS TO FORM AND SUBSTANCE:


Defendant American Arbitration Association:

By: /s/ Paul J. Halasz
    Paul J. Halasz
    Day Pitney LLP
    One Jefferson Road
    Parsippany, NJ 07054-2891
    Counsel for Defendant American
    Arbitration Association, Inc.


Plaintiff Jersey Mike’s Franchise Systems, Inc.:

By: /s/ Michael M. DiCico
    Michael M. DiCicco, Esq. (MD0316)
    MAGGS MCDERMOTT & DICICCO, LLC
    Allaire Corporate Center
    3349 Highway 138
    Building C, Suite D
    Wall, New Jersey 07719
    Tel.: (732) 223-9870
    Fax: (732) 223-7367
    E-mail: MDicicco@maggslawnj.com

       ZARCO EINHORN SALKOWSKI, P.A.
       One Biscayne Tower
       2 S. Biscayne Blvd., 34th Floor
       Miami, Florida 33131
       Telephone: (305) 374-5418
       Facsimile: (305) 374-5428
       ROBERT M. EINHORN
       (Admitted pro hac vice)
       E-mail: REinhorn@zarcolaw.com
       Secondary e-mail: AGarcia@zarcolaw.com
       SETH M. SHAPIRO
       (Admitted pro hac vice)
       E-mail: SShapiro@zarcolaw.com
       Secondary e-mail: Bryan@zarcolaw.com
       Counsel for Plaintiff




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